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                            UNITED STATES DISTRICT COURT
14
                                    DISTRICT OF ARIZONA
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     Manuel De Jesus Ortega Melendres,        No. CV-07-2513-PHX-GMS
17   on behalf of himself and all others
     similarly situated;
18   et. al.,                                 MARICOPA COUNTY DEFENDANTS’
                                              RESPONSE TO DRAFT ORDER
19                                            (DOC 2821)
                      Plaintiffs,
20
     and
21
     United States of America,
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                      Plaintiff-Intervenor,
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     v.
24
     Paul Penzone, in his official capacity
25   as Sheriff of Maricopa County,
     Arizona, et. al.,
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                      Defendants.
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1            Consistent with this Court’s October 3, 2022, order [Doc. 2821], Defendant
2    Maricopa County provides comments to this Court’s Draft Order [id., Attachment 1].
3            Maricopa County respectfully requests that this Court adjust the size of any fine
4    incurred under Paragraphs 340–42 and Paragraph 357 by reducing the baseline established
5    in Paragraph 338. At present, Paragraph 338 states: “Within 14 days from the date of this
6    order, MCSO will calculate and provide the Court and the parties with the dollar amount
7    required to recruit, hire, train and compensate for one year a single PSB budgeted sergeant
8    position.” Maricopa County requests that this Court add a sentence: “For purposes of the
9    fines established in ¶¶ 340–42 and 357, that dollar amount will be divided by twelve to
10   calculate the baseline amount before applying any multipliers.”
11           Maricopa County offers this adjustment for two reasons. First, the adjustment aligns
12   the size of the baseline with the monthly nature of the circumstances that trigger the fines
13   under Paragraphs 340–42 and Paragraph 357. (See Doc. 2821, ¶ 340 (“It shall, thereafter on
14   a monthly basis pay into the Staffing Fund five times the amount identified in ¶ 338 above
15   for every month the number of PSB investigators falls below the minimum investigator
16   staffing number.”); id., ¶ 341 (same); id., ¶ 342 (same); ¶ 357 (“For each month in which
17   the PSB cannot reduce the remaining backlog by at least 20 cases from the previous month’s
18   number, the MCSO and/or Maricopa County shall pay into the PSB Staffing Fund two times
19   the amount identified in ¶ 338 above.”).)
20           Second, the size of the fines, left unadjusted, could have a devasting effect on the
21   provision of County services. In the current fiscal year, the Maricopa County Board of
22   Supervisors set a budget of approximately $55,000,000 in unreserved contingency funds.
23   These funds are intended to cover unanticipated events in all areas of County government—
24   elections, the judicial system, public health, natural disasters and other emergency events,
25   jail services, etc. Thus, if fines in the Order are triggered, the County could spend all of its
26   contingency monies just funding the PSB Staffing Fund,1 leaving them no source with
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             Maricopa County also joins the comments of the Sheriff requesting to revise ¶ 345

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1    which to respond to other unanticipated events.
2           Further, Maricopa County recognizes the importance of staffing the MCSO’s
3    Professional Standards Bureau. Maricopa County has worked and will continue to work
4    with the MCSO to hire more PSB investigators; the County does not need the PSB Staffing
5    Fund to support PSB.
6           In closing, Maricopa County’s expectation is that these fines are never triggered. But
7    the County respectfully requests that this Court adjust the fines after considering the
8    secondary effects on County services if they are.
9           RESPECTFULLY SUBMITTED this 17th day of October, 2022.
10                                       RACHEL H. MITCHELL
11                                       MARICOPA COUNTY ATTORNEY

12
                                         BY: /s/ Joseph I. Vigil
13                                           JOSEPH I. VIGIL, ESQ.
                                             JOSEPH J. BRANCO, ESQ.
14
                                             Attorneys for Defendants Paul Penzone
15                                             and Maricopa County
16

17
                                   CERTIFICATE OF SERVICE
18

19          I hereby certify that on October 17, 2022, I caused the foregoing document to be
     electronically transmitted to the Clerk’s Office using the CM/ECF System for filing and
20   served on counsel of record via the Court’s CM/ECF system.
21

22   /s/Joseph I. Vigil

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     to allow Maricopa County to establish the PSB Staffing Fund and seeking clarification
28   about the uses for the Fund.

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